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									Supreme Court of Georgia244 Washington Street,&nbsp;Suite&nbsp;572
Atlanta, Georgia 30334
Phone: (404) 656-3470
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										Supreme Court of Georgia
										
											40 Capitol Square, Atlanta GA 30334
										
									
				1may10:00 am- 1:00 pmOral Arguments
							Event Details
							
							
									Event Details
									Monday, May 1,&nbsp;2017
10:00 AM
S16G1751 Spencer v. The State
S17A1061 Undisclosed LLC v. The State et al.
S17A1004 Williams v. Heard et al.
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										Time(Monday) 10:00 am - 1:00 pm
									
								
							
								
									
																
										LocationSupreme Court of Georgia40 Capitol Square, Atlanta GA 30334
									
								
							
							
									
			
			
						

							Recent News &amp; Reports		
					
				4/26/17 – PRESIDING JUDGE MILLER TO HEAR GA SUPREME COURT CASE
						
					
				4/26/17 – JUDGE CROSS TO HEAR GEORGIA SUPREME COURT CASE
						
				
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